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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


BROIDY CAPITAL MANAGEMENT LLC and
ELLIOTT BROIDY,

                     Plaintiffs,

            v.
                                                             Civil Action No. 1:19-cv-00150-DLF
NICOLAS D. MUZIN, JOSEPH ALLAHAM,
GREGORY HOWARD, and STONINGTON
STRATEGIES LLC,

                     Defendants.


  STATEMENT OF INTEREST WITH RESPECT TO DEFENDANTS’ EMERGENCY
                 MOTION FOR A PROTECTIVE ORDER

       Non-party State of Qatar (“Qatar”) files this Statement of Interest with Respect to

Defendants’ Emergency Motion for a Protective Order (ECF No. 90) to inform the Court of its

position regarding Defendants’ pending Emergency Motion for a Protective Order, which

implicates Qatar’s sovereign privileges and immunities. In filing this Statement of Interest,

Qatar does not waive any rights or immunities, including its immunity from the jurisdiction of

the courts of the United States pursuant to the Foreign Sovereign Immunities Act (“FSIA”), 28

U.S.C. §§ 1602–1611.

       Because Plaintiffs’ complaint alleges activities purportedly funded and directed by Qatar

as part of the State’s foreign policy, see ECF No. 18-2, at ¶¶ 2, 7, Qatar anticipates that

Plaintiffs’ discovery requests, including discovery aimed at third parties, will risk implicating

sensitive materials and information related to Qatar’s governmental functions. The Central

District of California acknowledged this risk when it entered Qatar’s proposed protective order

in Plaintiffs’ earlier case against the State, which involved allegations of the same conduct as that

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alleged here. See Min. Order, Broidy Cap. Mgmt., LLC v. Qatar (“Broidy v. Qatar”), 2:18-cv-

02421, ECF No. 210 (C.D. Cal. Aug. 17, 2018). There, Plaintiffs issued numerous and broad

discovery requests seeking correspondence and documents related to Qatar’s foreign policy, see

Suppl. Mem. in Opp’n to Pls.’ Mot., Broidy v. Qatar, ECF No. 240 (C.D. Cal. filed Oct. 26,

2018), and the court denied Plaintiffs’ efforts to make certain of those materials public,

recognizing that they were appropriately designated “Attorneys’ Eyes Only” under the protective

order. Min. Order, Broidy v. Qatar, ECF No. 242 (C.D. Cal. Nov. 2, 2018). In light of this

history, the D.C. Circuit recognized the risk that Plaintiffs’ discovery poses to Qatar in this case,

noting that “the district court has the appropriate tools to protect Qatar’s absolute FSIA immunity

from trial and the attendant burdens of litigation.” Broidy Cap. Mgmt. LLC v. Muzin, 12 F.4th

789, 803–04 (D.C. Cir. 2021) (citations omitted).

       Qatar respectfully submits that the protective order proposed by Defendants is an

appropriate and pragmatic tool to help safeguard Qatar’s sovereign privileges and immunities as

discovery moves forward in this case. Defendants’ proposal is based upon the protective order

proposed by Qatar and entered by the Central District of California in Plaintiffs’ previous suit,

and is thus appropriate for the reasons cited by Qatar in its briefing in support of that order. See

Joint Stip., Broidy v. Qatar, ECF No. 185, at 4–9 (C.D. Cal. filed Aug. 1, 2018) (explaining the

need for an “Attorneys’ Eyes Only” designation and a procedure through which parties may

designate materials produced by others). Defendants’ proposal also incorporates additional

protections with respect to third party discovery that are appropriate and necessary given that

third parties may not know that information sought by a subpoena is protected under the Vienna

Convention on Diplomatic Relations or Vienna Convention on Consular Relations. See Vienna

Convention on Diplomatic Relations, art. 24, Apr. 18, 1961, 23 U.S.T. 3227, 500 U.N.T.S. 95



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(protecting a diplomatic mission’s “archives and documents” “wherever they may be”); Vienna

Convention on Consular Relations, art. 33, Apr. 24, 1963, 21 U.S.T. 77, 596 U.N.T.S. 261 (same

for consular posts). Defendants’ contemplated “immunity protocol” thus addresses the D.C.

Circuit’s concerns by providing a mechanism through which Qatar can review and designate

such materials before they are produced to the parties. For these reasons, Qatar respectfully

submits that entry of Defendants’ proposed protective order is appropriate to protect Qatar’s

sovereignty and immunities throughout the course of discovery in this matter.



Dated: December 6, 2021                              Respectfully submitted,

                                                     /s/ David Zionts
 Mitchell A. Kamin*                                  David M. Zionts (D.C. Bar No. 995170)
 COVINGTON & BURLING LLP                             COVINGTON & BURLING LLP
 1999 Avenue of the Stars, Suite 3500                One CityCenter
 Los Angeles, California 90067-4643                  850 Tenth St., N.W.
 (424) 332-4800                                      Washington, DC 20001-4956
 mkamin@cov.com                                      (202) 662-6000
 *Pro Hac Vice motion pending                        dzionts@cov.com

                                                     Counsel for Non-Party State of Qatar




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                                 CERTIFICATE OF SERVICE
       I hereby certify that on December 6, 2021, I caused a true and correct copy of the

foregoing Statement of Interest with Respect to Defendants’ Emergency Motion for a Protective

Order to be filed through the Court’s e-file and serve system, which will serve notice

electronically on all counsel of record, as more fully reflected on the Notice of Electronic Filing.

 Dated: December 6, 2021                              /s/ David Zionts
                                                      David M. Zionts (D.C. Bar No. 995170)
                                                      COVINGTON & BURLING LLP
                                                      One CityCenter
                                                      850 Tenth St., N.W.
                                                      Washington, DC 20001-4956
                                                      (202) 662-6000
                                                      dzionts@cov.com

                                                      Counsel for Non-Party State of Qatar
